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               IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:12CR17
                              )
          v.                  )
                              )
RELXFORD L. HAYES,            )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s renewal

of motion to dismiss (Filing No. 83).         Defendant did not file a

brief with the renewed motion.       Defendant originally filed his

motion to dismiss on March 23, 2012 (Filing No. 33).              On April

25, 2012, at the hearing on the motion, the magistrate judge

recommended that the motion be denied and informed the parties

that they had fourteen days from the filing of the unredacted

transcript of the hearing to file any objections (Filing No. 44).

Defendant did not file any objections to the findings and

recommendation of the magistrate judge.          This Court then reviewed

defendant’s motion, brief (Filing No. 34), and the transcript

setting forth the magistrate judge’s findings and recommendation

(Filing No. 53) and ordered that the magistrate judge’s findings

and recommendation (Filing No. 54) be approved and adopted

(Filing No. 55).

          Considering that the defendant did not object to the

findings and recommendation of the magistrate judge during the
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time provided to do so, and since the defendant has offered no

reason for the Court to reconsider its order at this time, the

renewed motion to dismiss will be denied.            Accordingly,

          IT IS ORDERED that defendant’s renewal of motion to

dismiss (Filing No. 83) is denied.

          DATED this 6th day of November, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
